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Appeal Docket Sheet

Docket Number: 607 WDA 2022
Page 1 of 2

May 24, 2022

Christine Biros, an individual
Vv.
U Lock Inc., a Pennsylvania Corporation

Appeal of: Shanni Snyder

Initiating Document: Notice of Appeal

Case Status: Active

Case Processing Status: May 24, 2022

Journal Number:

Case Category: Civil
CONSOLIDATED CASES

Next Event Type: Receive Docketing Statement
Next Event Type: Original Record Received

 

Superior Court of Pennsylvania

 

Secure
CAPTION
CASE INFORMATION
Awaiting Original Record
Case Type(s}: Declaratory Judgment

RELATED CASES
‘
UYKWofdo7

SCHEDULED EVENT

Next Event Due Date: June 7, 2022
Next Event Due Date: July 18, 2022

COUNSEL INFORMATION

 

 

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IFP Status: No
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IFP Status: No on 2m
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Appeal Docket Sheet
Docket Number: 607 WDA 2022

Superior Court of Pennsylvania

 

 

Page 2 of 2
Secure
May 24, 2022
COUNSEL INFORMATION

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IFP Status: No

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FEE INFORMATION
Fee Dt Fee Name Fee Ami Receipt Dt Receipt No Receipt Amt
05/24/2022 Notice of Appeal 90.25 0.00
AGENCY/TRIAL COURT INFORMATION

Order Appealed From: May 17, 2022 Notice of Appeal Filed: May 19, 2022

Order Entered
May 24, 2022

Order Type:
Documents Received:

 

 

 

 

Court Below: Westmoreland County Court of Common Pleas
County: Westmoreland Division: Westmoreland County Civil Division
Judge: Smail, Harry F. OTN:
Docket Number: 17 CJ 04886 Judicial District: 10
ORIGINAL RECORD CONTENT
Original Record ltem Filed Date Content Description
Date of Remand of Record:
BRIEFING SCHEDULE
None None
DOCKET ENTRY
Filed Date Docket Entry / Representing Participant Type Filed By
May 24, 2022 Notice of Appeal Docketed
Appellant Snyder, Shanni

May 24, 2022 Docketing Statement Exited (Civil)

Superior Court of Pennsylvania
